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                      EXHIBIT 4
            Case 2:11-cv-00678-LRH-PAL              Document 89-5          Filed 12/27/13       Page 2 of 3


Saka, Joseph

From:                              Saka, Joseph
Sent:                              Thursday, December 19, 2013 2:07 PM
To:                                'Matthew Dendinger'; kirschman@whitfieldlaw.com
Cc:                                Reidy, Andrew
Subject:                           RE: Sun West Bank, Pacific State Bank, Vantus Bank


Matt,

It was not clear from your email whether Progressive is agreeing to apply these search terms to its ESI. Please advise. If
Progressive is objecting to any of the search terms, please let us know which ones so we can quickly try to resolve those
issues. Obviously, given Progressive’s delay providing this information and the nearing discovery deadlines in the cases,
it is imperative that we reach resolution and receive Progressive’s ESI production in short order. To that end, for those
search terms that Progressive does not object to, we would suggest that Progressive begin the process of getting those
documents produced now.

Please also let us know when you anticipating completing Progressive’s ESI production. Given the discovery deadlines, if
Progressive will not provide an estimated completion date, we will need to seek relief from each Court.

Finally, you note that Progressive’s vendor applied the “proposed search terms against only those documents that are
not already contained in the universe of ESI retrieved by search terms in other mater.” I assume you are referring to the
search terms agreed to in the cases involving FDIC as Receiver for Omni National Bank and FDIC as Receiver for Silver
State Bank, but please confirm that is correct.

Thanks very much,
Joe


Joseph M. Saka
Associate
Dickstein Shapiro LLP
1825 Eye Street NW | Washington, DC 20006
Tel (202) 420‐2679 | Fax (202) 379‐9168
sakaj@dicksteinshapiro.com

From: Matthew Dendinger [mailto:mdendinger@ljwllp.com]
Sent: Tuesday, December 17, 2013 5:08 PM
To: Saka, Joseph; kirschman@whitfieldlaw.com
Subject: Sun West Bank, Pacific State Bank, Vantus Bank

Joe and Rick:

Please find attached a consolidated hit report provided by our ESI vendor with respect to the FDIC’s proposed
search terms in these matters. Our vendor applied these proposed search terms against only those documents that
are not already contained in the universe of ESI retrieved by search terms in other mater. We are providing this
report without waiver of Progressive’s right to object to the FDIC’s proposed search terms.

Yours,
Matt
                                                            1
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